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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

IN RE JOHNSON & JOHNSON TALCUM MDL Docket No. 2738

POWDER PRODUCTS MARKETING
SALES PRACTICES AND PRODUCTS
LIABILITY LITIGATION

Civil Action No. 16-2738 (MAS) (RLS)

SCHEDULING ORDER

THIS MATTER having been brought before the Court upon review of the docket, and
upon consideration of Judge Singh’s February 9, 2024 order extending certain discovery and
bellwether trial-related deadlines, and for good cause shown;

IT IS on this 30" day of April, 2024,

ORDERED that the discovery deadlines set forth in the Court’s October 6, 2023 and
February 9, 2024 Orders are hereby amended as follows:

1. Pursuant to their discovery obligations, plaintiffs should have ordered
and served updated medical records, authorizations, and pathology materials for
the cases in the Bellwether Trial Pool by October 4, 2023.

Ds Plaintiffs should have served, if necessary, supplemental and amended
disclosures of all general and case-specific experts pursuant to Rule
26(a)(2)(A) and served on Defendants’ counsel the Rule 26(a)(2)(B) reports of
all general and case-specific expert witnesses they may use at trial in any of the
Stage Three cases on or before November 15, 2023.

3, Any depositions of Plaintiffs’ expert witnesses must be completed on or before
May 17, 2024.

4, Defendants shall designate all general and case-specific experts pursuant to
Rule 26(a)(2)(A) and serve on Plaintiffs’ counsel the Rule 26(a)(2)(B) reports

of all general and case-specific expert witnesses they may use at trial in any of
the Stage Three cases on or before May 21, 2024.

5. Any depositions of Defendants’ expert witnesses shall be completed by
July 2, 2024.
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IT IS FURTHER ORDERED that:

6. Depositions of general causation experts may only be taken if the expert
provides a supplemental report, in which case the deposition shall be limited
to four hours of testimony time and may only address new material contained
in the supplemental report.

7. Depositions of experts who address case-specific issues for individual
plaintiffs in addition to providing new or supplemental reports on general
causation shall be limited to a total of one day/seven hours of testimony unless
the expert issues case-specific reports in three or more cases, in which case the
deposition is limited to two days/14 hours of testimony time.

IT IS FURTHER ORDERED that:

8. In accord with this Court’s March 27, 2024 text order (ECF No. 31080),

dispositive motions, including Daubert motions, shall be filed by July 23,
2024:!

9, Oppositions to any dispositive or Daubert motions shall be filed by August
22, 2024.

10. Replies in further support of any dispositive motions shall be filed by
September 12, 2024.”

IT IS FURTHER ORDERED that:

Ih. Plaintiffs shall identify the case or the cases to be consolidated for the first trial
by August 5, 2024.

12. Plaintiffs shall serve their final list of trial experts for the first bellwether trial
by October 8, 2024; Defendants shall serve their final list of trial experts for
the first bellwether trial by October 11, 2024.

' The Court encourages counsel to meet and confer and to jointly propose earlier Daubert and
dispositive motion briefing dates. The Court will not entertain any requests for an extension of the
current briefing dates.

* Replies will not be permitted for Daubert motions.

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13. By November 6, 2024, the parties shall e-file their joint proposed final pretrial
order as an attachment to correspondence and separately submit a joint proposed final
pretrial order to the Honorable Rukhsanah L. Singh, U.S.M.J., via email at
RLS_Orders@njd.uscourts.gov.?

14. Judge Singh shall conduct a final pretrial conference on November 14, 2024
at 10:00 AM. The conference will be held at the Clarkson S. Fisher Federal
Building and U.S. Courthouse, 402 E. State Street, Courtroom 7W, Trenton,
New Jersey.

15. | By November 18, 2024, counsel shall electronically file correspondence that
indicates:

a. Whether or not they require the use of any of the Court’s audio, visual, or
other equipment;* and

b. Whether counsel intend to bring their own audio, visual, or other equipment.

16. By November 21, 2024, counsel must submit a Joint Exhibit List and Two
(2) Bench Books. (Except for the exhibits that are solely for impeachment
purposes, only the exhibits included on the joint exhibit list may be introduced
at trial. Any objection to an exhibit, and the reason for said objection, must be
set forth or it shall be deemed waived. All parties agree that it will not be
necessary to bring in the custodian of any exhibit as to which no objection is
made.)

17. By November 21, 2024, counsel shall electronically file a witness list that
contains each witness’s full name and the witness’s city and state of residence.

18. By November 22, 2024, each party shall electronically file a trial brief in
accordance with Local Civil Rule 7.2(b), with citations to authorities and
arguments in support of its position on all disputed issues of law. In the event
a party fails to file a brief, the delinquent party’s complaint or defense may be
stricken.

> The parties must include all instructions in the joint proposed final pretrial order. In addition, the
parties may not “reserve any rights” in the joint proposed final pretrial order. Purported
“reservations of rights” will be summarily stricken as non-compliant.

4 See https://www.njd.uscourts.gov/courtroom-technology for a list of the Court’s audio-visual
equipment.

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19. By November 25, 2024, counsel shall electronically file a joint proposed trial
schedule, that includes:

a. The witnesses scheduled to testify on each day of trial; and
b. The anticipated length of testimony for each witness.°

20. By November 25, 2024, counsel must submit joint proposed jury instructions
and a joint proposed verdict sheet.° Counsel must submit the actual,
numbered instructions.’ To the extent that counsel do not agree on any given
jury instruction, the joint proposed jury instructions must contain each party’s
proposed instruction and each party’s position with respect to the instruction,
supported by citations to relevant authority.* Failure to cite relevant authority
may _result_in_ the Court’s adoption of the opposing party’s proposed
instruction.°

ai, The Court will conduct an in-person pretrial conference on November 26, 2024
at 3:30 p.m. Trial counsel and clients must attend the in-person pretrial
conference.

° The Court understands that the submitted proposed schedule is subject to change. The parties,
however, should generally be prepared to call their witnesses in the order set forth in the proposed
schedule and in a timely, efficient manner to avoid breaks in the trial.

® Counsel shall electronically file the document. In addition, counsel shall submit a Word version
directly to: Chambers_of Judge Michael Shipp/@njd.uscourts.gov.

7 Counsel may not simply list model jury instruction numbers from the Third Circuit, the State of
New Jersey, or any other source with the expectation that the Court create the actual document.

8 Counsel may not submit separate documents and/or separate versions of proposed jury
instructions. Counsel must follow the format required by this Order.

° The Court understands that the final jury instructions may change based on the evidence
introduced at trial. The Court, accordingly, will conduct a charging conference towards the end of
the trial. The Court, nevertheless, expects counsel to include all potential jury instructions in their
joint proposed submission. If appropriate, irrelevant and/or unnecessary instructions can later be
deleted. If the joint proposed jury charges require revisions, the Court shall instruct counsel on the
record to that effect. If counsel fail to submit the required revisions by the Court’s deadline, the
noncompliant portion(s) of the jury instruction(s) may be stricken or the Court may adopt the
compliant party’s proposed jury instruction(s).

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22. Trial shall commence on December 3, 2024 at 9:30 a.m. The Court has
currently set aside ten (10) days for trial.”

Hon. Michael A. SiAps
United States District Judge

'0 Should counsel assert that they require more than ten trial days, they must include the request
for additional trial days, with detailed reasoning for the request, in their joint proposed final pretrial

order.
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